                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


     John Doe; The Door; Make the Road New
     York; New York Immigration Coalition;
     Sanctuary for Families; Urban Justice Center,

                        Plaintiffs,

            V.



                                                             19CV8892
     U.S. Immigration and Customs Enforcement;
     U.S. Department of Homeland Security;
     Donald J. Trump, in his official capacity as            --:...,,,
     President of the United States; Kevin                Civil Action No. -19-
                                                                             "-"-~------
     McAleenan, in his official capacity as Acting
     Secretary of Homeland Security; Matthew T.
     Albence, in his official capacity as U.S.
     Immigration and Customs Enforcement                                          JUDGE NATHAN
     Deputy Director and Senior Official
     Performing the Duties of the Director; Susan
     Quintana, in her official capacity as U.S.
     Immigration and Customs Enforcement New
     York Field Office Director,

                        Defendants.



                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE !RELIEF

                   Plaintiffs, who need unfettered access to the courts of New York State to obtain

    relief critical to the safety, economic security and liberty of themselves and their clients, by and

    through their undersigned counsel, bring this action against Defendants, upon knowledge with

    respect to themselves and their own acts and upon information and belief with respect to all other
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    matters, and allege as follows:

                                      NATURE OF THE ACTION

            1.     This action challenges, under statutory, constitutional and New York common

    law, the legality of U.S. Immigration and Customs Enforcement's ("ICE") policy of carrying out

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    federal immigration arrests ofnoncitizens in and around New York state courthouses without

    judicial warrants. Instead of abiding by the long-standing history of respecting the sanctity of

    courthouses as a place where victims of crime, criminal defendants, witnesses and participants in

    civil court proceedings alike can safely seek justice, Defendants exploit the open access and

    safety provided in New York State courts for their enforcement activities.

           2.      ICE abuses the safety and security afforded by state courts for federal

    immigration enforcement purposes. Despite calls to end this practice from state and local judges,

    attorneys general and district attorneys, bar associations, legal services providers, public

    defenders, civil rights groups, anti-violence advocates and legislators, ICE defends this policy,

    indicating that courthouses are an ideal venue for efficiently and safely arresting noncitizens.

    ICE has also expressed a retaliatory motive for conducting courthouse arrests in jurisdictions that

    decline to cooperate with ICE detainer requests.

            3.     In January 2017, agents ofICE, a sub-agency of the U.S. Department of

    Homeland Security ("DHS"), began dramatically increasing arrests and surveillance of

    noncitizens appearing in state courts, departing from a long tradition of recognizing the sanctity

    of courthouses. In early 2018, ICE issued Directive No. 11072.1, Civil Immigration

    Enforcement Actions Inside Courthouses (ICE 2007) (the "Courthouse Arrests Directive"),

    memorializing its courthouse arrest policy and expressly rejecting limitations on its enforcement

    powers in courthouses. As has been the expected and intended result of this directive, ICE's

    courthouse arrests have continued. Indeed, the Immigrant Defense Project has documented an
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    increase of 1736% in ICE courthouse enforcement in and around courts in New York from late




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2016 to April 10, 2019. 1 Arrests have even continued despite New York State Office of Court

Administration's ("OCA") April 18, 2019 issuance of a rule prohibiting ICE courthouse arrests

without a judicial warrant in New York State courts.

        4.       Known victims ofICE's courthouse arrests have included: criminal defendants;

parents appearing in child support matters; parents appearing in delinquency matters; survivors

of gender-based violence, sexual assault, human trafficking and other crimes. Groups of plain-

clothes ICE agents use state courts to surveil, identify and even stalk people inside New York

State courthouses and their immediate vicinity, and, once apprehended, place them in civil

immigration detention and removal proceedings. Since April 2019, for example, ICE officers

have made arrests in the immediate vicinity of the criminal courts in Richmond, Queens and

New York Counties. Other times, ICE officers have arrested people waiting to appear before a

judge, or, after identifying specific immigrants inside the courthouse, have followed them and

immediately arrested them outside of the courthouse. In none of these cases was a judicial

warrant tendered. 2 Other immigrants have been forcibly removed from the state court process

while in court. At times, removals by plain-clothes ICE agents are so aggressive that bystanders

believe they have witnessed a kidnapping. 3

        5.       Forcibly prevented from continuing to participate in the court process and denied

access to their lawyers, arrested individuals are unable to return to New York state and other

courts, which is highly prejudicial to their ability to participate in court proceedings to vindicate

their legal rights.




1 Immigrant Defense Project, Safeguarding the Integrity of Our Courts: The Impact ofJee Courthouse Operations in
New York State 46-47 (Apr. JO, 2019), https:/lwww.immigrantdefenseproject.org/wp-content/uploads/Safeguarding-
the-lntegrity-of-Our-Courts-Final-Report.pdf
2 Id. at 46-47.
3 Id. at 46.


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        6.      In addition to individuals forcibly taken from court, others never make it to court.

ICE's courthouse arrests have been widely publicized and are well-known across New York

State, including within immigrant communities, creating an atmosphere of fear that has had the

effect of keeping countless noncitizens from accessing New York State courts both affirmatively

and defensively. Some decline to continue to participate in an ongoing case, and others are

afraid to seek relief altogether. For example, in many cases, the only way for a noncitizen to

obtain lawful status or for a victim of abuse to obtain protection is through participation in state

court proceedings. ICE's courthouse arrest policy dissuades individuals, including the individual

plaintiff in this action, from doing just that.

        7.      Access to justice has a central importance in our legal system, as reflected in the

protections guaranteed under the First, Fifth, and Sixth Amendments of the U.S. Constitution.

New York courts have designated courthouses as protective spaces through the application of the

common law privilege from civil arrest, and New York court officials expend resources to ensure

that all of its residents-including noncitizens-are safe coming to court. Access to courts is not

only an important legal value but also a practical right, as our criminal and civil legal systems are

structured around the assumption that individuals will be able to access the courts without

fear. These systems include our immigration system: the Immigration and Nationality Act

("INA") sets forth immigration benefits and grounds for deportation that depend on access to

state criminal and civil courts to function effectively. And historically, immigration authorities

recognized that courts are sensitive places for purposes of conducting immigration enforcement;

until the last two years, DHS's predecessor agency the Immigration and Naturalization Service

("INS"), later followed by ICE, generally stayed out of courts and issued policies specifically

recognizing their special function in American life.



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       8.      In the Courthouse Arrests Directive, ICE claims that its policy to engage in

enforcement actions in and around state courts is a response to the decision of states like New

York not to honor ICE detainer requests, a "rationale" belied by the fact that ICE arrests

noncitizens from courthouses in counties that do honor ICE detainers. This is not a well-

reasoned rationale for adopting this policy, and there is no evidence that Defendants gave any

meaningful thought to the impact that courthouse arrests have on the ability of litigants-citizen

and noncitizen-to exercise their Constitutional and statutory rights in New York State courts.

In particular, Defendants ignore how ICE courthouse arrests undermine Congress's clear intent

to afford non-citizens the ability to appear in state courts, unfettered by fear of arrest, to pursue

forms of immigration relief that require participation in state court proceedings. Such forms of

relief include, but are not limited to, U and T nonimmigrant visas, relief under the Violence

Against Women Act ("VAWA"), and Special Immigration Juvenile Status ("SUS"). Defendants

also did not consider how ICE courthouse arrests delay immigration court proceedings for

noncitizens facing criminal charges who need access to state courts to defend themselves and

resolve outstanding matters.

        9.     ICE's conduct-including its adoption of a policy that deliberately makes civil

immigration arrests of state court participants - violates the many constitutional protections that

relate to access to courts and justice, as well as the New York common law immunity for civil

arrest afforded to court participants. Furthermore, by disregarding these legal protections, and by

ignoring the ways in which obstructing court access undermines other important policy

objectives, ICE is acting contrary to the INA and in a manner that is arbitrary and capricious.

        10.    As a result of Defendants' policy of arresting noncitizens in and around New

York State courts, Defendants have violated and continue to violate Plaintiffs' federal statutory



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    and constitutional, and New York common law, rights. Plaintiffs seek injunctive and

    declaratory relief against ICE's unlawful and unconstitutional policy of surveilling and arresting

    noncitizens while they are corning to, attending and returning from court. The policy should also

    be set aside under the Administrative Procedure Act becau~e it is arbitrary and capricious and

    violates federal law.

            11.    In addition, Plaintiffs seek an award of attorneys' fees and costs and such other

    relief as this Court deems equitable and just.

                                     JURISDICTION AND VENUE

            12.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 over the

    Plaintiffs' claims under the U.S. Constitution and federal law, and has supplemental jurisdiction

    over claims arising under New York state law. The United States has waived sovereign

    immunity for purposes of this case pursuant to 5 U.S.C. § 702.

            13.    The declaratory and injunctive relief that Plaintiffs seek is authorized under 28

    U.S.C. §§ 2201 and 2202.

            14.     Venue is proper in the district under 28 U.S.C. §§ 1391(b)(2) and (e)(l) because

    Defendants are officers or employees of the United States acting in their official capacities and

    agencies of the United States, a substantial part of the acts or omissions giving rise to this

    Complaint arose from events occurring within this judicial district, and Plaintiffs Make the Road

    New York, Urban Justice Center, Sanctuary for Families, The Door and New York Immigration

    Coalition have their principal places of business in this district.

            15.    The Court has the authority to provide the reliefrequested under 28 U.S.C. §§

    1651, 2201 and 2202, and its inherent equitable powers.




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                                           PARTIES

Individual Plaintiff

       16.    Plaintiff John Doe is a citizen of both Venezuela and Spain. Mr. Doe came to the

United States approximately four years ago and has resided in New York City ever since. He

does not currently have lawful immigration status in the United States. Although he is in need of

an order of protection against his abusive former partner, he has not commenced an action in

New York State family court for an ex parte order of protection because he fears being arrested

by ICE when appearing in court.

Organizational Plaintiffs

       17.     Plaintiff Make the Road New York ("MRNY") is an association of approximately

23,000 immigrant members residing in New York City, Long Island and Westchester County

and is dedicated to building the power of immigrant, Latinx and working-class communities in

New York to achieve dignity and justice. MRNY has offices in Brooklyn, Queens, Staten Island,

Suffolk County and Westchester County. MRNY brings this action on behalf of itself, a

nonprofit, membership-based§ 501(c)(3) organization.

       18.     MRNY' s staff includes lawyers, community organizers, health advocates and

adult literacy professionals, among others. MRNY integrates adult and youth education, legal

and survival services and community and civic engagement in order to support low-income New

Yorkers in improving their own lives and neighborhoods.

       19.     MRNY has a legal department staffed by approximately twenty-eight attorneys

and nineteen advocates and paralegals who provide a broad range of civil legal services to

immigrant New Yorkers. MRNY' s immigration legal team represents immigrants facing

deportation as well as immigrants filing affirmative applications for immigration benefits, such

as T and U Visas, Violence Against Women Act ("VAWA") self-petitions, asylum, Deferred

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Action for Childhood Arrivals ("DACA") renewals, hardship waivers, adjustment of status, SIJS

applications and naturalization. MRNY' s organizers counsel and advocate for families affected

by ICE enforcement activities including enforcement activities in and in close proximity to

courthouses.

        20.     Plaintiff Urban Justice Center ("UJC") is a social justice advocacy organization

that represents clients in family, civil and immigration proceedings in New York State and

before the federal agencies and courts. Its principal place of business is in Manhattan, but it also

provides on-site services to victims of family-based violence and trafficking in the City-run

Family Justice Center in Queens, which is located a block from the Queens county criminal

court. UJC brings this action on behalf of itself, a nonprofit,§ 501(c)(3) organization, and on

behalf of its clients.

        21.     UJC also engages in systematic advocacy, community education and political

organizing. Approximately 35-40% ofUJC's clients are noncitizens.

        22.     UJC is composed of thirteen distinct Projects, which support clients in the areas of

tenants' rights and housing justice, immigrants' rights and workers' rights, among others. UJC

also provides extensive civil legal representation and clinical services to victims of domestic

violence and human trafficking. UJC's staff includes attorneys, community organizers, social

workers, researchers and policy analysts.

        23.     Plaintiff Sanctuary for Families ("SFF") is New York's largest dedicated service

provider and advocate for adult and child survivors of domestic violence, sex trafficking and

related forms of gender violence. Its principal place of business is in Manhattan. SFF brings this

action on behalf of itself, a nonprofit, § 501 (c)(3) organization, and on behalf of its clients.




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           24.       Seventy-five percent of SFF clients are immigrants, and of those, many are either

    undocumented or partially documented. SFF staff communicate with clients in over thirty

    languages in eleven locations throughout New York City, including New York City-run Family

    Justice Centers located in proximity to various state courts.

           25.       Each year, SFF provides legal, clinical, shelter and economic empowerment

    services to approximately 15,000 survivors and their children. SFF employs 50 attorneys and an

    additional 30 staff members who work exclusively with survivors of domestic violence, sex

    trafficking and other forms of gender violence. SFF provides direct representation to survivors

    in connection with a number of legal needs, including immigration, family court and housing

    court matters.

           26.       SFF provides training and engages in outreach and advocacy on issues related to

    domestic violence and sex trafficking to community advocates, pro bono attorneys, law students,

    service providers and the judiciary. SFF also advocates for policies and legislation around issues

    affecting survivors of domestic violence and sex trafficking.

           27.       Plaintiff The Door is an organization that provides comprehensive youth

    development services in the New York City area. Among other services, including family law,

    public benefits and landlord-tenant law, The Door represents young people in immigration

    matters, including direct representation of clients applying for special immigrant juvenile status

    ("SIJS"), asylum, U and T visas and other forms of humanitarian relief, and one of its core

    missions is to obtain lawful immigration status and a pathway to permanent residency and
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    citizenship for young immigrants in New York City and the surrounding areas. Its principal place

    of business is in Manhattan. The Door brings this action on behalf of itself, a nonprofit,

    § 501(c)(3) organization, and on behalf of its clients.



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            28.    The Door's Legal Services Center provided services for 1,173 clients in 2017, 915

     of whom were immigrants. In 2018, 793 of Legal Services Center's 1,067 clients were

     immigrants. Most of the Door's clients are low-income and do not speak English, making it

     extremely difficult for them to sue on their own behalf. The Door has represented children in

     SUS applications for more than 20 years.

            29.    Plaintiff New York Immigration Coalition (''NYIC") is an umbrella policy and

     advocacy organization that represents more than 200 immigrant and refugee rights groups in

     New York State. NYIC's mission is to unite immigrants, members and allies so all New Yorkers

     can thrive. NYIC's principal place of business is 131 West 33rd St., New York, NY 10001.

            30.    NYIC serves as an advocate for laws, policies and programs that support all

     immigrant groups and give them access to justice and opportunity. NYIC consists of more than

     200 dues-paying 501(c)(3) nonprofit organizations committed to immigrants' rights work.

     NYIC's members are located both in and out of New York State. The organizations include

     grassroots community groups, social services providers, large-scale labor and academic

     institutions and organizations working toward economic, social and racial justice. Many NYIC

     member organizations receive funding from the local, state and federal government in order to

     provide social service, health and education programs.
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            31.    Organizational Plaintiffs MRNY, UJC, SFF, The Door and NYIC have each
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     expended significant resources to mitigate the institutional and individual harms caused by ICE's

     courthouse arrests. As set forth below, they have spent considerable time and resources training
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     and preparing their staff to advise clients and members about, and how to manage, the

     consequences ofICE's courthouse arrests. Organizational Plaintiffs have also been involved in

_J   developing and providing community trainings for vulnerable noncitizen groups that fear and/or



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      are at risk of arrest by ICE. ICE's courthouse arrest policy has also rendered Organizational

      Plaintiffs' direct representation of their clients much more difficult by requiring them to spend

      time advising and counseling about the risks of courthouse apprehensions, time that would

      otherwise be spent on addressing substantive legal issues; making it difficult to meet with clients

      due to their fear of appearing at or near courthouses; and limiting the options of clients for

      certain types of judicial and immigration relief that require appearances in court. This policy

      thus harms the missions and operations of Organizational Plaintiffs in myriad ways, as well as

      the interests of their clients and members.

      Defendants

              32.     Defendant Donald J. Trump is the President of the United States. He is sued in

      his official capacity.

              33.     Defendant Kevin McAleenan is the Acting Secretary of Homeland Security. He

      is sued in his official capacity.

              34.     Matthew T. Albence is the Acting Director of U.S. Immigration and Customs

      Enforcement. He is sued in his official capacity.

              35.     Susan Quintana is the New York Field Office Director of U.S. Immigration and

      Customs Enforcement. She is sued in her official capacity.

              36.     Defendant U.S. Department of Homeland Security ("DHS") is a cabinet

      department of the United States federal government. Its mandate includes the administration of

      the interior enforcement provisions of the Nation's immigration laws. DHS developed the
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      Administration's policy on courthouse arrests and publicly released a memorandum describing

      the policy. Agents ofDHS execute courthouse arrests in the courts ofNew York.

_.)           37.     Defendant U.S. Immigration and Customs Enforcement is a sub-agency ofDHS.

      Its mandate is the administration of the interior enforcement provisions of the Nation's
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immigration laws. Agents of ICE execute courthouse arrests in New York courts and in close

proximity thereto.

                                    LEGAL FRAMEWORK

I.     Fundamental Constitutional and Common Law Rights to Access State Courts.

       38.     Numerous provisions of the U.S. Constitution safeguard access to the courts for

U.S. citizens and non-citizens alike:

       a.      The Due Process Clause of the Fifth Amendment of the U.S. Constitution forbids
               the federal government from depriving an individual of life, liberty or property
               without due process of law. Due process includes the right to access state courts
               and to participate in state court proceedings as a witness, party or complainant;

       b.      The Petition Clause of the First Amendment to the U.S. Constitution guarantees
               the right of petition, which includes the right to petition the Government for a
               redress of grievances. This right to petition includes right to access state courts
               and to participate in state court proceedings as a witness, party or complainant;

       c.      The Sixth Amendment to the U.S. Constitution guarantees defendants in criminal
               prosecutions the right to a speedy and public trial, compulsory process, assistance
               of counsel and to be confronted with witnesses against them.

       39.     Aside from these constitutional protections, New York courts have recognized a

common law privilege of immunity from civil arrest in and around courthouses for over 100

years as an essential element of access to justice. See, e.g., Parker v. Marco, 136 N.Y. 585, 589

(1893) (the common law immunity is not "simply a personal privilege, but it is also a privilege of

the court, and is deemed necessary for the maintenance of its authority and dignity and in order

to promote the due and efficient administration of justice."); Person v. Grier, 66 N.Y. 124, 125

(N.Y. 1876) ("It is the policy of the law to protect suitors and witnesses from arrests upon civil

process while coming to and attending the court and while returning home."). See also Stewart

v. Ramsay, 242 U.S. 128, 130 (1916) ("Courts of justice ought everywhere to be open,

accessible, free from interruption, and to cast a perfect protection around every man who

necessarily approaches them") (internal citation and quotations omitted).

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            II.    Authority for Federal Immigration Enforcement.

                   40.     The Immigration and Naturalization Act, 8 U.S.C. §§ 1101 et seq., as amended

            ("INA") authorizes civil immigration arrests and governs removal proceedings. Pursuant to 8

            U.S.C. § 1357(a)(2), ICE may detain an alien without a warrant ifICE has "reason to believe that

            the alien ... is in the United States in violation of any [immigration] law or regulation and is

            likely to escape before a warrant can be obtained for his arrest." DHS has promulgated

            regulations that govern its enforcement activities. See, e.g., 8 C.F.R. §§ 287.1-12.

                   41.     The statute thus gives the government the same type of civil-arrest authority that

            had historically been used to institute civil proceedings. See INS v. Lopez-Mendoza, 468 U.S.

            1032, 1038 (1984) ("A deportation proceeding is a purely civil action to determine eligibility to

            remain in this country"). The statute today, as in 1952, when it was enacted, gives no indication

            that the authority Congress granted differs in any way from the civil-arrest authority that existed
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            at common law-including the limitation privileging those attending court on official business

            from civil courthouse arrest.

    )              42.     Soon after his inauguration as President, Donald Trump issued Executive Order

            13,768, entitled "Enhancing Public Safety in the Interior of the United States" ("EO 13,768").

            EO 13,768 abandoned deportation prioritization programs employed by both the George W.

            Bush and Obama administrations, and called instead for the deportation of any and all deportable

            people from the United States (over12 million human beings), and a near-tripling ofICE's

            deportation force. EO 13,768 encouraged ICE and U.S. Customs and Border Protection ("CBP")
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            agents to engage in immigration enforcement against noncitizens who "[in] the judgment of an

            immigration officer, otherwise pose a risk to public safety or national security." EO 13,768 is

.J          silent as to process, supervisor review or judicial review for these enforcement decisions. EO

            13,768 was implemented on February 20, 2017 in a DHS memorandum.
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     III.    Congressional Limits on Federal linmigration Enforcement Activities.
~I           43.    In the INA, Congress grants authority to Defendants to pursue immigration

     enforcement. But equally important, the INA's statutory scheme limits Defendants' enforcem~nt

     authority. The immigration system established under the INA- both the affirmative benefits

     available to obtain lawful status and the removal process - depends in large part on unfettered

     noncitizen access to state courts.

             44.    Congress has designated state courts to play a critical role in establishing

     eligibility for various affirmative immigration benefits through several provisions of the INA

     added by both VAWA and the William Wilberforce Trafficking Victims Protection

)    Reauthorization Act ("TVPRA").

             45.    VAWA was originally enacted in 1994 to address congressional concerns about

     violent crime, and violence against women in particular. VAWA affords benefits to abused
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     foreign nationals and allow them to obtain lawful status independently of the U.S. citizen or legal

     permanent resident ("LPR") relatives who originally sponsored them. In enacting VAWA,

)    Congress recognized that cooperation between noncitizen survivors of violence and law

     enforcement is critical in prosecuting violent crime. See, e.g., Violence Against Women:

     Fighting the Fear Before the Comm. on the Judiciary, 103r<lcong. 4 (1993) (statement of Sen.
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     William S. Cohen) ("The Violence Against Women Act, is designed to both increase public

     awareness of the magnitude of the problem and also to enhance law enforcement and prevention

     efforts").
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             46.    8 U.S.C. § 1101(a)(51) affords victims and survivors of intimate partner violence

     committed by a U.S. citizen or LPR spouse or parent the ability to petition for their own

J    immigration status relief under VAWA (known as a "VAWA self-petition"). 8 U.S.C.

     § 1186a(c) enables noncitizens with conditional LPR status to apply to remove the conditions on
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their immigration status without the assistance of their spouse through a battered spouse waiver,

evidence in support of which may include court documents demonstrating battery or extreme

cruelty by an applicant's spouse. However, this form of relief relies upon safe passage through

the state courts: obtaining a family court or criminal court order of protection against an abuser

is often a prerequisite to making a VAWA self-petition. Now, due to fears of an immigration

arrest in state court, survivors eligible for relief under 8 U.S.C. § 1101(a)(51) or 8 U.S.C.

§ 1186a(c) cannot safely separate from their abusive partners and seek family law and

immigration legal assistance.

       47.     ICE's actions are directly at odds with VAWA, created to enable survivors to

pursue legal remedies outside of an abusive relationship without fear of jeopardizing their legal

status. Congress passed VAWA, in part, to "increase the availability of legal assistance

necessary to provide effective aid to victims of domestic violence, stalking or sexual assault who

are seeking relief in legal matters arising as a consequence of that abuse or violence, at minimal

or no cost to the victims." H.R. Conf. Rep. 106-939. Legal assistance includes assistance in

immigration matters, protection or stay away order proceedings and other similar matters. H.R.

Conf. Rep. 106-939. By arresting survivors at courthouses, ICE violates the basic purpose of

VA WA, both by scaring immigrants away from courthouses and by inhibiting the delivery of

legal assistance to survivors.

       48.     Moreover, pursuant to 8 U.S.C. § 1186a(c), noncitizens with conditional LPR

status who are victims of gender-based violence perpetrated by a U.S. citizen or LPR spouse can

apply to remove the conditions on their immigration status without the assistance of their spouse

through a battered spouse waiver, evidence in support of which may include court documents

demonstrating battery or extreme cruelty by an applicant's spouse.



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            49.     ICE's courthouse arrest policy also conflicts with the implementation, and

    undermines the effectiveness, of other provisions of VAWA. The Victims of Trafficking and

    Violence Protection Act of 2000 ("TVP A"), attached as an amendment to VA WA in 2013,

    created distinct paths to lawful immigration status for victims of crime and human trafficking

    who assist law enforcement.

            50.     In particular, 8 U.S.C. § l 101(a)(15) (U) establishes U Visas as a category of

    immigration benefit for victims of crime who cooperate with law enforcement. Cooperating with

    law enforcement typically requires appearances in state criminal or family court. In passing this

    provision, Congress intended to incentivize immigrants to participate in criminal investigations

    and prosecutions. Without unfettered access to state courts, many U visa applicants cannot

    establish their eligibility for statutory relief.

            51.     In addition, 8 U.S.C. § 1101(a)(15)(T) establishes T Visa status for victims of

    human trafficking. Victims of trafficking are often arrested and face criminal charges for

    activities they are forced to do by their traffickers. In those cases, arrest represents the beginning

    of a path to escape from traffickers and connection with social and legal services, including

    immigration counsel. If people eligible for T Visas are unable to appear in criminal court, they

    will struggle to obtain T Visas and the criminal operations of traffickers cannot be exposed.
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            52.     8 U.S.C. § 1101(a)(27)(J), added through the TVPRA of2008 and amended in

    2013, establishes SUS, a form of humanitarian immigration relief for which certain vulnerable

    young people are eligible. Obtaining SUS is conditioned upon having a state family court order
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    that makes certain findings about a juvenile's family and custodial situation and his or her

    inability to return to his or her country of origin. Young people unable to appear in state court

    cannot obtain SUS. 8 U.S.C. § 1101(a)(27)(J)(i)-(ii).



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             53.      ICE has directly acknowledged the limitations proscribed by Congress on its

    removal authority. ICE Directive No. 10036.1, issued on January 22, 2007, describes the

    background of VAWA and status and recognizes courthouses as "sensitive locations" similar to

    domestic violence shelters, rape crisis centers and other similar settings, and requires

    "certificates of compliance" with certain procedures from ICE officers who seek to conduct

    enforcement activities in such locations. Specifically, the directive states:

             The certificate of compliance requirements reflects congressional intent that ICE
             proceed cautiously when making an arrest or otherwise physically encountering
             an alien at one of the sensitive locations without objective evidence that the alien
             is in the United States in violation of the immigration laws and that victims of
             battery, abuse, trafficking, and extreme cruelty be protected.

    (emphasis added). 4

             54.      Before the Trump Administration took office in January 2017, Congressional

    protections of victims and survivors limited ICE enforcement against them. Since January 2017,

    as set forth in this Complaint, ICE enforcement has taken place in family courts, human

    trafficking courts and criminal courts.

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    IV.      New York State and Local Laws Protect Noncitizens' Access to Public Services and
             Limit Federal Immigration Enforcement Activities.

             55.      Immigrants have long been an essential part of the social fabric ofNew York

    State. As of 2014, New York State was home to nearly 4.4 million immigrants, composing



    4        See also Memorandum from John Morton to Field Office Directors et al. (Oct. 24, 2011) (on file with ICE),
    http://www.ice.gov/doclib/ero-outreach/pdf/10029.2-policy.pdf(directing ICE to continue to preserve potential
)   VAWA applicants' access to the courts specifically and defining "sensitive locations" using a non-exhaustive list
    that should be read to encompass state courts and notes specifically that ''particular care should be exercised with
    any organization assisting children, pregnant women, victims of crime or abuse, or individuals with significant
    mental or physical disabilities."); Memorandum from David Aguilar to Assistance Commissioner, Office of Air and
    Marine et al. (Jan. 18, 2013) (on file with FOIA Library), https://foiarr.cbp.gov/streamingWord.asp?i=1251
    (describing and providing a non-exhaustive list of certain "community locations" as locations where ICE supervisors
    should "consider alternative measures that could achieve the enforcement objective without causing significant
    disruption to the normal activities or operations at the identified location" and instructing ICE agents to seek
    guidance if an enforcement action is planned near a location "not specifically listed above but that may be similar in
    nature, description, or function" to those locations listed therein).

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     approximately 22% of the State's total population, second only to California. In New York City

     alone, over 35% of the population consisted of immigrants in 2014 and almost a third of

     American-born children have at least one parent who is foreign-born.

             56.    New York has long recognized that, given the size and economic contribution of

     the noncitizen population, including undocumented immigrants, noncitizens must be able to

     safely report crimes and rely on law enforcement. In New York City, the last five mayoral

     administrations have implemented and/or upheld policies that limit civil immigration

     enforcement in connection with municipal functions and services, and in particular public safety

     functions and services. These policies were adopted in recognition of the fact that such policies

     preserve the health, education and safety of all New Yorkers. For instance, Executive Orders 34

     and 41, adopted in 2003 and still in effect today, promote access to City services for all

     immigrants, including undocumented immigrants, by requiring City employees to protect the

     confidentiality of a person's immigration status and other kinds of personal information. There

     are also several City policies and laws that require City agencies providing direct public services

     to provide meaningful translation services and language access to accommodate immigrant

     populations.

             57.    New York State has likewise adopted policies designed to protect the ability of all

     immigrants to participate in public life, including participation in state courts. In April 2018,

     Governor Andrew Cuomo expanded Executive Order No. 170 through Executive Order 170.1 to

     increase protections against civil immigration arrests in state facilities and to prohibit state

     agencies from inquiring about individuals' immigration status. In taking this action, Governor



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Cuomo stated, "The reckless and unconstitutional practices ICE is deploying in our communities

violate everything we believe in New York and are an assault on our democracy." 5

        58.      On April 17, 2019, the OCA promulgated Directive No. 1-2019, which requires

ICE agents to provide federally issued warrants or judicial orders in order to execute arrests

inside New York State courthouses. Despite affirmative actions taken by New York State to

protect unfettered access to its courts, ICE agents have arrested noncitizen litigants in the

immediate vicinity ofNew York State courthouses without judicial warrants since the OCA

Directive was issued.

                                   SUBSTANTIVE ALLEGATIONS

I.      ICE's Courthouse Arrests Are Blunt, Dangerous and Illegal Tools in its Unbridled
        Immigration Enforcement Efforts.

        59.      President Trump has publicly and frequently spoken about his administration's

goal of conducting mass deportations of immigrants who are removable from the United States,

including through an expansion ofICE and CBP, the agencies primarily responsible for

immigration enforcement and deportation. EO 13,768 and the February 20, 2017 DHS

memorandum implemented this goal by simply prioritizing the removal of any and all

noncitizens who may be removable for any reason. At the time EO 13,768 was issued, the

federal government recognized that in order to carry out this substantial increase in immigration

enforcement activities, it would be required to also increase federal resources devoted to

immigration enforcement, including a near-tripling ofICE's capacity.

        60.      In early 2017, as part of its efforts to execute the Trump administration's broad

deportation agenda, ICE greatly expanded its surveillance and arrests of noncitizens in and




5        Governor's Press Office, "Governor Cuomo Issues Cease and Desist Letter to ICE" (Apr. 25, 2018),
https://www.governor.ny.gov/news/governor-cuomo-issues-cease-and-desist-letter-ice.

                                                      19
around state courthouses through a civil arrest process largely devoid of judicial warrants,

officers who identify themselves, and other law enforcement norms. The frequency of these

arrests has escalated since President Trump's inauguration and has now become a regular

occurrence in New York State, creating widespread fear among noncitizens in New York and

beyond. This federal policy abuses state courts and commandeers state court resources to carry

out federal immigration enforcement activities.

        61.      After legal practitioners, judges and communities around the country began

speaking out against the increase in ICE's courthouse arrests, the Trump Administration made

several public statements in defense ofICE's surveillance and arrest of immigrants in and around

state courthouses. For instance, on March 29, 2017, then Homeland Security Secretary John

Kelly and Attorney General Jefferson Sessions sent an open to letter to Hon. Tani G. Cantil-

Sakauye, Chief Judge of the California Supreme Court, defending ICE's policy of conducting

courthouse arrests and stating adamantly that ICE would continue these operations. In this letter,

they admitted that conducting immigration enforcement activities in state courthouses used the

state's resources for the benefit of the federal government and was therefore an efficient and

effective way to make civil immigration arrests: "[b]ecause courthouse visitors are typically

screened upon entry to search for weapons and other contraband, the safety risks for the arresting

[ICE] officers and persons being arrested are substantially decreased." 6

        62.      On April 4, 2017, a DHS spokesperson announced publicly that ICE agents would

continue to arrest individuals attending court, including witnesses and victims: "Just because

they're a victim in a certain case does not mean there's not something in their background that



6Letter from John Kelly, Homeland Security Secretary, and Jefferson Sessions, Att'y Gen., to
Hon. Tani G. Cantil-Sakauye, Chief Judge, Cal. Supreme Court (March 29, 2017),
https://www.politico.com/£'?id=OOOOO l 5b-23c8-d874-addf-33e83a8c0001.

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could cause them to be a removable alien[.] Just because they're a witness doesn't mean they

might not pose a security threat for other reasons." 7 Notably, this statement was made after a

survivor of gender-based violence in Texas, who had just received an order of protection from

the court, was arrested by ICE in a state courthouse. DHS and other Trump Administration

officials have continued to make similar public remarks, culminating in the release of the written

memorialization of their policy on courthouse raids on January 10, 2018.

II.     ICE Memorialized its Illegal Courthouse Arrest Policy in the January 10, 2018
        Directive.

        63.     On January 10, 2018, DHS released the Courthouse Arrests Directive, an internal

operating memorandum issued to its agents regarding its policy on courthouse arrests and raids.

The Courthouse Arrests Directive instructs ICE agents to continue to conduct surveillance and

arrest operations against those coming to, attending, and leaving state courts.

        64.     While this Directive ostensibly sets parameters for ICE's courthouse arrests, it

merely cross-references back to the wide-ranging, undefined and unsupervised discretion set

forth in EO 13,768 and other immigration-related Executive Orders issued by the Trump

Administration. The Directive ultimately places no restrictions on the courts ICE agents may

enter or the types of court proceedings the agents may disrupt for purposes of making civil

immigration arrests.

        65.     In particular, the Directive states that ICE civil immigration enforcement actions

"inside courthouses include actions against specific, targeted aliens with criminal convictions,

gang members, national security or public safety threats, [etc.] when ICE officers or agents have




7Devlin Barrett, DHS:Immigration Agents may Arrest Crime Victims, Witnesses at Courthouses,
Wash. Post (April 4, 2017), https://www.washingtonpost.com/world/national-security/dhsimmigration-agents-may-
arrest-crime-victims-witnesses-at-courthouses/2017/04/04/3956e6d8-196d-l le7-
9887Ia5314b56a08 _story.html?utm_term=.d3cbacf93414.

                                                     21
information that leads them to believe the targeted aliens are present at that specific location." 8

However, it is not limited to those categories of person. The Directive further provides that

"[a]liens encountered during a civil immigration enforcement action inside a courthouse" who

are not "target alien[s] ... will not be subject to ... enforcement action, absent special

circumstances,'' (emphasis added), but does not define or give any parameters whatsoever to

what constitute "special circumstances."9

        66.     The Directive further states that "ICE officers and agents should generally avoid

enforcement actions in courthouses, or areas within courthouses that are dedicated to non-

criminal (e.g., family court, small claims court) proceedings" and that "[w]hen practicable" ICE

agents will seek to "minimize their impact on court proceedings," but contains no specific

procedures or guidance for doing so. 10 Indeed, in ICE's Frequently Asked Questions on

courthouse arrests-which is structured as questions followed by ICE's responses-one of the

eight questions asked is: "Is there any place in a courthouse where enforcement will not occur?"

ICE replies neither "yes" nor "no." 11 Instead, the memorandum specifically instructs agents to

use "the court building's non-public entrances and exits[,]" and to work in "collaboration with

[State] court security staff." 12

        67.     The Courthouse Arrests Directive formalizes the Trump Administration's policy

that ICE use state courthouses to arrest anyone suspected of a civil immigration violation-

including criminal defendants, victims, witnesses and parties to civil proceedings. However,

because Congress never abrogated the longstanding and well-settled common-law privilege


8 Directive No. 11072.1, Civil Immigration Enforcement Actions Inside Courthouses at 1 (ICE 2007),

https://www.ice.gov/sites/default/files/documents/Document/2018/ciEnforcementActionsCourthouses.pdf
9 Id. at 1.

10 Id. at 1-2
11 U.S. Immigration and Customs Enf't, FAQ on Sensitive Locations and Courthouse Arrests,

https://www.ice.gov/ero/enforcement/sensitive-loc (last updated Sept. 25, 2018).
12 Id.


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against such arrests. Congress never authorized ICE to conduct civil courthouse arrests. The

INA does not grant the federal government the authority to conduct civil courthouse arrests in

violation of the common-law privilege, and so ICE's policy of conducting such arrests exceeds

ICE's statutory authority.

         68.      Moreover, ICE's policy is fundamentally inconsistent with the statutory scheme

for ICE's enforcement activities and ICE's own prior policies, which intended that ICE exercise

caution when carrying out enforcement activities at sensitive locations and that ICE be

constrained in carrying out enforcement activities of vulnerable persons, including victims and

survivors of abuse and trafficking. These policy objectives are not reflected or adhered to in the

text of the Courthouse Arrests Directive or the manner in which ICE has carried out courthouse

arrests since the beginning of 2017. Instead, victims of abuse and trafficking, including Mr. Doe

and clients and members of Organizational Plaintiffs, are effectively kept out of New York state

courts and chilled from seeking protections as a result ofICE's courthouse arrest policy and its

failure to abide by the clear congressional mandate.

III.     State and Federal Legal and Law Enforcement Officers Publicly Criticize ICE's
         Courthouse Arrest Policy

         69.      On December 12, 2018, a group of 68 former state and federal judges from 23

states issued a letter to ICE's acting director, urging ICE to explicitly add courthouses to its list

of "sensitive locations" where immigration enforcement efforts by the agency are generally

barred. This letter cited myriad ways in which ICE's courthouse arrests impede the effective

administration of justice and make noncitizens fearful of appearing in court, thereby rendering

them vulnerable to exploitation and making communities less safe overall. 13 The letter stated


13 Letter from Wallace B. Jefferson, Chief Justice of the Supreme Court of Texas, et al., to Ronald D. Vitiello,

Acting Director ofU.S. Immigration and Customs Enforcement (Dec. 12, 2018),
https ://www.scribd.com/document/3 9 54884 73 /Letter-From-Former-Judges-Courthouse-Immigration-Arrests.

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"Li]udges simply cannot do their jobs-and our justice system cannot function effectively-if

victims, defendants, witnesses, and family members do not feel secure in accessing the

courthouse ... ICE's reliance on immigration arrests in courthouses instills fear in clients and

deters them from seeking justice in a court building." 14

        70.      Two members of this group--Judge Jonathan Lippman, former Chief Judge of the

New York Court of Appeals, and Wallace B. Jefferson, former Chief Justice of the Supreme

Court of Texas-reiterated their objections to ICE's courthouse arrest practices in a December

19, 2018 article in The Hill newspaper, stating:

        When fear limits access to courts, public safety is imperiled. Our legal system
        must guarantee that people seeking or aiding justice will not be discouraged from
        petitioning the courts. Courthouse arrests also make justice more difficult to
        administer. .. Safe admittance to courthouse[ s] preserves justice. As chief judges
        for our states, we worked hard to achieve that goal. For many, access to our
        justice system is now in doubt because ofICE's courthouse arrests. Without a
        shared understanding that everyone may access courts without fear, public safety
        is compromised, and our democracy's guarantees are unfulfilled. 15

        71.      State district attorneys and attorneys general have likewise publicly rebuked ICE

for preying on immigrants in and around state courts, and have pointed to the threat to the

administration of justice and to public safety, and the broad disruption to the functioning of the

courts. In February 2018, the Manhattan, Brooklyn and Bronx District Attorneys jointly

appeared at a press conference to implore ICE to stop arresting noncitizens in New York State

courthouses. Brooklyn District Attorney Eric Gonzalez said that ICE courthouse arrests do "not

keep us safe." 16 They "jeopardize[] public safety." 17 This group also cited the chilling effect of



14 Id
15 Jonathan Lippman & Wallace B. Jefferson, ICE Director Should Make Courthouses Safe for All, The Hill (Dec.
19, 2018), https://thehill.com/opinion/immigration/421899-ice-director-should-make-courthouses-safe-for-all.
16 Erin Durkin, City DAs Plead with ICE to Stop Arresting Immigrants at NYC Courthouses: 'It Jeopardizes Public

Safety', New York Daily News (Feb. 14, 2018), http://www.nydailynews.com/new-york/city-das-press-ice-stop-
arresting-immigrants-courthouses-article-1.3 820798.
11 Id


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ICE courthouse arrests on witnesses' willingness to come forward, with Manhattan District

Attorney Cy Vance explaining that because noncitizens cannot appear in New York state courts

"without fear of getting arrested ... critical witnesses and victims in cases don't proceed with

important prosecutions, and New Yorkers are less safe because ofit." In April 2019, the District

Attorneys of Middlesex and Suffolk Counties in Massachusetts, Marian Ryan and Rachael

Rollins, respectively, among other plaintiffs, recognized that "entire communities now view the

Massachusetts courts as places where they cannot go, for any reason," which has "greatly

imped[ed] access to justice and undermin[ es] the administration of justice in these

communities." 18 District Attorneys Ryan and Rollins commenced proceedings in federal court

for injunctive relief barring ICE from making civil arrests in and around courthouses, which the

Massachusetts district court granted on June 2019. 19

        72.     ICE's courthouse arrest policy and practice undermines the stated policies of New

York State, New York City and localities throughout the State to ensure noncitizen residents

have safe and complete access to the justice system, including state courthouses themselves.

Indeed, by ICE's own admission, this policy is a reaction to and reprisal for policies protective of

immigrant communities like those that have long been in place in New York. ICE's "Frequently

Asked Questions" on Sensitive Locations and Courthouse Arrests states that its systematic use of

courthouse arrests, and the formalization of that policy in the Courthouse Arrests Directive, are

necessary due to "the increasing unwillingness of some jurisdictions to cooperate with ICE in the

safe and orderly transfer of targeted aliens inside their prisons and jails. " 20




18 Complaint, Ryan v. U.S. Immigration & Customs Enft, No. 19-11003-IT (D. Mass. Apr. 29, 2019), ECF No. 1.
19 Ryan v. US. Immigration & Customs Enft, _F. Supp. 3d_, No. 19-11003-IT, 2019 WL 2553664 (D. Mass. June
20, 2019).
20 U.S. Immigration and Customs Enft, FAQ on Sensitive Locations and Courthouse Arrests,

https://www.ice.gov/ero/enforcement/sensitive-loc (last updated Sept. 25, 2018).

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        IV.       ICE's Courthouse Arrest Policy Disrupts the Functioning of New York's Courts
                  and Imperils Public Safety.

                  73.   ICE does not disclose the frequency of, or details concerning, its civil courthouse

        arrests in New York. Nevertheless, Plaintiffs have attempted, through their own and others'

        observations oflCE in New York courts, to understand the extent and nature oflCE's presence

        in New York courts. ICE officers are regularly present in New York State courts such that

        appearing in a New York State court requires exposing oneself to the possibility of civil ICE

        arrest.

                  74.   On information and belief, on the day of a courthouse raid, squads of anywhere

        from two to twelve ICE agents wearing plain clothes and displaying no law enforcement
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        identification approach a courthouse. Some of them stay outside, some of them enter. They

        typically have some information about the person they intend to arrest, though there have been

        reports of collateral arrests. Agents arrive with the name of their intended arrestee, which they

        use to check court date and courtroom information. They will wait in or around that courtroom

        and listen for the name to be called. By watching an individual appear before the court, ICE

        agents are able to identify their arrest target. Once identified, agents arrest the individual either

        in the courthouse or as he or she is leaving the building. Some people are arrested on their way

        into court. ICE has information about these.individuals in advance, including their home
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        addresses, vehicle numbers and photographs.

                  75.   ICE agents almost never have a judicial warrant or court order when making a

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        civil immigration arrest in or around a courthouse. They sometimes possess an administrative

        warrant, though rarely show the warrant unless asked, or refuse to show the administrative

        warrant, even to those they arrest or their counsel. At the time of an arrest, plain clothes agents

        often do not identify themselves until well after they have made a seizure, and even after they


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        have taken the person into custody, handcuffed them and placed them inside an ICE vehicle,

        which is often unmarked. It is common for ICE personnel to identify themselves as federal

        immigration agents for the first time only at this point in the arrest process.

               76.     ICE agents use force and excessive force during courthouse raids. For example,
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        in an incident outside of the courthouse complex near Borough Hall in Brooklyn, New York,

        plain-clothes ICE agents shouted after a young man leaving the criminal court. When the young

        man ran, ICE agents tackled him to the ground. Up to this point, they had never identified

        themselves as law enforcement officers or as ICE agents. The young man's pregnant companion

        resisted the agents. They threw her to the ground and put him into a car. Only at this point did

)       they notify the young man that they were ICE agents.

                77.    ICE agents regularly arrest vulnerable groups in and around courthouses. Agents

        arrest survivors of violence and sexual violence, young people, trafficking victims and even

        pregnant women. The arrests take place in criminal, family and civil courts. They take place

        inside courtrooms, in vestibules, in hallways, in private areas, in elevators, in entranceways and

        on sidewalks. They take place by agents stopping people's cars when they are on their way to or

        from court.

                78.    ICE carries out courthouse arrests at all stages oflegal proceedings-at

        arraignments and other initial appearances, as well as at subsequent appearances. They take

        place often outside the presence of counsel. In many cases, individuals were arrested as they

        were on their way to meetings with their lawyers. In almost every case, ICE does not notify
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        counsel that their clients are going to be arrested. Even where counsel asks to speak with their

        clients, ICE often refuses to grant them access.




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             79.      In response to the severe disruption caused by ICE's courthouse arrest policy in

     New York State courts, thoroughly documented by the statements and experiences a range of

     stakeholders set forth in the April 10, 2019 Safeguarding the Integrity of Our Courts: The Impact

     ofIce Courthouse Operations in New York State report, the New York OCA issued Directive No.

     1-2019 on April 17, 2019, requiring ICE agents to provide a federally issued warrant or judicial

     order in order to execute arrests inside a New York State courthouse. 21 Yet notwithstanding that

     directive, ICE continues to arrest noncitizens coming to or leaving the courthouse.

             A.       ICE's Courthouse Arrests Impede Individuals' Access to Justice.

             80.      Individuals affected by ICE's courthouse arrests come from a variety of
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     backgrounds, both in terms of their immigration statuses and the business that brings them before

     the courts of New York State.

             81.      Criminal Defendants. Many noncitizens affected by ICE for courthouse arrests,

     including clients and members of Organizational Plaintiffs, are criminal defendants, who like all

     such defendants enjoy the presumption of innocence and the right to participate with their

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     counsel in their defense.

             82.      The outcomes of removal proceedings for those who face criminal charges are

     dependent on court access. By arresting noncitizen criminal defendants, DRS causes criminal

     charges to remain unresolved, which can lead to arrest warrants for failure to appear in criminal

     court (for example, if they are in ICE detention). An open and unresolved criminal matter will

     be a strong adverse factor in an immigration bond redetermination hearing and when seeking a

     discretionary form of relief in removal proceedings, making it harder for noncitizens to obtain




     21 Immigrant Def. Project, Safeguarding the Integrity of Our Courts: The Impact of/CE Courthouse Operations in

     New York State (Apr. 10, 2019), https://www.immigrantdefenseproject.org/wp-content/uploads/Safeguarding-the-
     Integrity-of-Our-Courts-Final-Report. pdf.

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release, return to their homes and families and resolve the pending criminal case. In determining

whether to release individuals from immigration custody or grant relief from removal,

immigration judges consider pending criminal charges as significant adverse factors.

Additionally, when determining whether to strip a permanent resident of his or her lawful status

based on past criminal conduct, immigration courts rely upon convictions found by criminal

courts.

          83.   ICE's presence in New York's courts has created a chilling effect on the

willingness of these individuals to attend their own court appearances and pursue robust defenses

of their cases, contrary to their own legal interests and the efficiency interests of the courts.

Many noncitizen defendants are so fearful of risking potential exposure to ICE when appearing

in court that they prioritize their own liberty over pursuing a vigorous defense of their criminal

charges. As a result, and even after being advised of the potential immigration consequences,

many noncitizen defendants choose to take a plea at arraignments or agree to pleas on less

favorable terms, rather than negotiating a better plea, carrying out a full investigation of their

case or taking their case to trial. Others forego participating in criminal proceedings altogether,

which can be particularly harmful for nonimmigrants with minor criminal issues that could

otherwise be easily resolved with a court appearance and that, as a result, escalate into open

arrest warrants that can have much more detrimental effects, including on immigration status.

          84.   ICE's courthouse arrests also greatly impede the ability of criminal defendants to

participate in problem-solving courts, such as the Queens Human Trafficking Intervention Court

("HTIC"), where Plaintiff SFF represents survivors of sex trafficking. Defendants are less

willing to enter such programs in the first place because they typically require additional court

appearances, which create more opportunities for these individuals to be arrested by ICE. These



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     are not hypothetical fears - ICE has conducted enforcement operations against those having their

     cases adjudicated before the HTIC. Plaintiff SFF has observed a significant chilling effect

     among its noncitizen clients who have appearances in HTIC, which often results in the clients

     refusing to appear in court and subsequently not being connected the services and programs the

     HTIC offers.

            85.     Crime Victims and Witnesses. Noncitizen victims and witnesses of crimes are

     also targets ofICE's courthouse arrests and, as a result, are fearful of coming forward to report

     criminal activity or to continue with existing cases. For example, Plaintiff SFF represents a

     minor client who was raped and wanted to cooperate with law enforcement to testify against her

)    rapist in court. The client, whose mother is undocumented, knew her mother would accompany

     her to court. The client refused to testify because she feared her mother would be arrested by

     ICE.

            86.     The district attorneys of the Bronx, Manhattan and Brooklyn have all publicly

     spoken out about the chilling effect ofICE's courthouse arrests on the willingness of victims and

     witnesses to come forward and participate in criminal cases. Brooklyn District Attorney Eric

     Gonzalez has identified several cases his office could not prosecute due to the unwillingness of

     witnesses or victims to appear in court out of a fear of being arrested by ICE. In one example,
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     District Attorney Gonzalez surmised that ICE's courthouse arrests have chilled the ability and

     willingness of undocumented workers to come forward with evidence and participate in his

     office's current large-scale investigation of construction violations in New York City, thereby
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     hindering the overall investigation and prosecution of this case.

            87.     Data collected by prosecutors' offices and defender organizations lay bare the

     reality of the chilling effect ofICE's conduct in New York's courts. The Immigration Units of



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the Kings County and Nassau County District Attorney's Offices have experienced precipitous

declines in caller volumes to their immigration hotlines since ICE intensified its courthouse

arrest efforts in 2017. Calls to the Kings County Immigration Affairs Unit ("IAU") hotline

declined from 431 calls in 2016 to only 132 calls in 2017 and 142 calls in 2018. In Nassau

County, calls to the IAU hotline decreased 96% in 2017. In 2018, calls to the Nassau IAU

hotline were only 16% of pre-2017 levels. In Queens County, IAU calls declined from 358 calls

in 2017 to 277 calls in 2018. Moreover, the Mayor's Office to Combat Domestic Violence, now

known as the Mayor's Office to End Domestic and Gender-Based Violence ("ENDGBV")

reported a 10% decline between 2016 and 2017 in the number of new foreign-born clients

visiting New York City's Family Justice Centers.

       88.     Participants in Civil Court Proceedings. ICE's courthouse arrests are not limited

to New York's criminal courts. ICE has also targeted individuals appearing in family court,

including: victims of gender-based violence seeking orders of protection; parents trying to secure

child support payments, custody, visitation and guardianship rights; Persons in Need of

Supervision findings, or abuse or neglect findings; and young people applying for SIJS, seeking

findings of abuse or neglect against their parents or with appearances in juvenile delinquency

proceedings.

       89.     Plaintiff John Doe is one such individual who has been effectively kept out of

family court and unable to pursue robust protection from his abuser due to his fear ofICE's

courthouse arrests.

       90.     Mr. Doe was in a relationship with his former partner, a legal permanent resident

of the United States, for approximately three years. Mr. Doe's ex-partner was physically and

verbally abusive, which led Mr. Doe to end the relationship in or around August 2018. Prior to



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leaving his former partner, Mr. Doe and his partner had been living together. After a particularly

aggressive outburst by his former partner, Mr. Doe fled their shared home, leaving behind many

of his belongings, including his passports, which had expired.

       91.     After Mr. Doe fled, his former partner harassed him through email, text message

and voicemail for several months, and threatened to report to ICE that Mr. Doe was

undocumented, claiming that he had a direct connection through a family member who worked

for ICE. These threats became so severe and traumatizing that Mr. Doe quit his job and moved

apartments to avoid being located by his former partner.

       92.     In approximately September 2018, Mr. Doe's former partner sued Mr. Doe in

small claims court for alleged expenses incurred during the course of their relationship. In

addition to the harassing and threatening messages he had been sending Mr. Doe for many

months, Mr. Doe's former partner also began sending intimate photos of Mr. Doe to his sister in

Venezuela and threatened to distribute the photos more broadly if Mr. Doe did not pay him the

amount claimed in the small claims court action.

       93.     Terrified of appearing in court and being arrested by ICE, Mr. Doe sought counsel

from the New York City Anti-Violence Project ("NYCAVP"). Mr. Doe and his lawyer at

NYCAVP considered seeking an ex parte order of protection against Mr. Doe's former partner,

which is the typical course of action to protect a victim of domestic violence against an abuser.

However, such an order requires the petitioner to appear in family court. Mr. Doe was so afraid

of being arrested by ICE when appearing in court that he decided against seeking an order of

protection.

       94.     In approximately December 2018, Mr. Doe's attorney from NYCAVP appeared

in small claims court on Mr. Doe's behalf, as Mr. Doe was too afraid of being arrested by ICE to



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     appear himself. At this court appearance, opposing counsel presented photocopies of Mr. Doe's

     expired passports and announced that ICE officers were present in the courtroom and "ready to

     go." The small claims action against Mr. Doe was dismissed with prejudice that day.

            95.      Though the threats and harassment against Mr. Doe by his former partner have
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     subsided, he still does not feel safe and cannot be sure whether his former partner will try to find,

     harass, threaten and/or abuse him again. Were it not for his fear of being arrested by ICE when

     appearing in court, Mr. Doe would seek an order of protection in family court against his former

     partner, which he cannot obtain without appearing in court.

            96.      The specter ofICE's presence in New York's courts also extends to housing

     courts. To avoid having to appear in court and risk being apprehended and arrested by ICE,

     many noncitizen tenants, including clients and members of Organizational Plaintiffs, decline to

     sue their landlords for repairs and instead continue to live in deplorable and unsafe conditions.

     Similar to the pressures faced by noncitizen criminal defendants, in an effort to avoid ICE in

     housing court during a court appearance, noncitizen tenants feel pressured to resolve housing

     court cases as quickly as possible and not ask for a new court date to seek advice of counsel.

     This, in turn, often results in tenants unknowingly waiving defenses and counterclaims, signing

     judgment agreements with unjust terms (e.g., inaccurate amounts of rent arrears, overly harsh

     probationary periods, unnecessary move-out agreements from rent-stabilized or rent-controlled

     apartments) or being unnecessarily evicted from their homes, among other adverse

     consequences.

            97.      Ultimately, as a result of the widespread fear ofICE's courthouse arrests, a broad

     range of noncitizen residents of New York, including clients of Organizational Plaintiffs, have

     been much more reluctant to pursue relief for which they are eligible, seek protection against



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        their abusers, continue cooperating with law enforcement in the prosecution of their abusers

'   I   and/or vindicate their rights before the court. This fear often takes a severe emotional and

        psychological toll on these individuals, many of whom, believing they may be deported if they

        seek relief in the courts, decide to remain in abusive relationships and are subjected to continued
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        psychological and physical violence. This dynamic, in turn, can lead to individuals needing to

        seek medical treatment and/or take time off work, which takes an economic toll on these

        ·individuals and their children.

                98.     Because of the fear of having their immigration status used against them if they

        seek recourse from their abusers through the legal system, these individuals, many of whom have

        often already suffered personal crises and trauma, are put in the untenable position of choosing

        between staying in an abusive relationship or dangerous living situation or appearing _in courj:,

        which they fear may lead to being arrested by ICE, deported and/or losing custody of their

        children. Others who are no longer in abusive relationships often still suffer economically as

        they are too afraid to appear in court to seek child support, spousal support and equitable

        distribution in a divorce. Still others are unable to see their children because of fear of seeking

        visitation, custody or guardianship. ICE's courthouse arrest policy deprives noncitizen residents

        of New York of a safe judicial forum in which to assert their rights, often thereby forcing them to
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        endure abuse that violates New York law.

                B.      ICE's Courthouse Arrests Harm Organizational Plaintiffs and Interfere with
                        Organizational Plaintiffs' Representation of their Clients and Counseling of
                        their Members.
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                99.     As a result ofICE's courthouse arrests, Organizational Plaintiffs MRNY, SFF,

        UJC, The Door and NYIC have been harmed in myriad, concrete ways and have had to divert

)       time and resources from other core organizational activities to a range of activities that they

        would not otherwise undertake, including: counseling clients and members regarding their fears
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     of ICE courthouse arrests and those who have been personally affected by courthouse arrests;

     advising clients and members regarding alternative forms of relief that do not require

     participation in court processes; and developing internal and external trainings and protocols to

     manage risks around ICE's courthouse arrest policy.

            100.    Additional Time Spent Advising and Counseling Clients. Members and

     Community Members. Organizational Plaintiffs' direct assistance to and legal representation of

     their clients, members and community members has been severely impacted by ICE's courthouse
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     arrests. Organizational Plaintiffs are now required to spend time dealing directly with the

     aftermath of courthouse arrests in the communities they serve, as well as counseling clients about
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     their fears ofICE's courthouse arrests, which time would otherwise be spent addressing

     substantive legal issues for their clients. Moreover, in the current environment where ICE's

     courthouse enforcement tactics are widespread and carried out without warning, Organizational
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     Plaintiffs encounter challenges in building strong cases due to the unwillingness of noncitizen

     witnesses and their clients' family members to appear in court out of fear of being arrested by

)    ICE. Additionally, the ability of Organizational Plaintiffs to pursue zealous claims and defenses

     on behalf of their clients is severely impaired in the current environment, as Organizational

     Plaintiffs must weigh the benefits of court appearances with the serious risk of arrest by ICE in
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     or around courthouses.

            101.    PlaintiffMRNY staff have observed the widespread fear ICE's courthouse arrest

     policy creates among its clients, members and the broader communities that MRNY serves.
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     MRNY has tallied and provided support in over 25 instances of courthouse arrests over the past

     two years.




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            102.    This fear requires MRNY to expend additional time and resources counseling

     clients, members and the community on ICE's courthouse arrests. MRNY organizers spend

     considerable time counseling families who have had members violently apprehended from

     outside state courthouses by ICE. In addition, when MRNY attorneys and advocates advise or
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     answer questions from clients and members subject to removal about their legal options in a

     range of contexts, the risk ofICE enforcement enters the calculus of which options to pursue.

     The complicated nature of these consultations and the high stakes involved pose considerable

     challenges for MRNY, especially when a given client or member is required to appear in court

     (for example in response to a criminal court summons) but doing so could put her at risk of being

     arrested by ICE.

            103.    On the organizing and community response side, to coordinate and manage its

     response to enforcement actions impacting clients and members, a significant proportion of

     which are ICE courthouse arrests, MRNY has dedicated the resources of several attorneys;

     community organizers, including one organizer dedicated full-time to raids response work since

     2017, and several paralegals and immigration "navigators" who would otherwise devote this

     time and resources to other projects related to MRNY's core mission. From approximately the

     fall of 2017 to the fall of 2018, MRNY employed a rotating assignment system for members of

     its legal team to act as "on call" immigration experts, on top of their normal workloads, to help

     address questions and concerns related to ICE courthouse arrests and other enforcement actions

     impacting clients and members. In the fall of 2018, MRNY replaced this system with a legal

     fellow dedicated to providing raids response support and, a year later, hired a full-time raids

     response attorney.




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            104.    Attorneys at Plaintiff SFF who represent clients in family court, housing court,

     HITC, the Supreme Court of New York and New York State criminal court must now spend

     considerable additional time advising their noncitizen clients of the risks of attending court

     proceedings given the possibility of being arrested by ICE. This has created an atmosphere of

     heightened anxiety and lowered morale for SFF staff and its clients alike and has significantly

     increased the workload of SFF attorneys in connection with these cases. For example, SFF

     represented a noncitizen client from China whose son was taken back to China by her abusive
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     husband who refused to return the child. After several years of separation, in 2018 the client

     learned that her son was back in the United States. Her counsel at SFF advised her of potential

     legal remedies, including seeking custody of her son through a petition in family court and filing

     for relief through a writ of habeas corpus. However, the client was extremely fearful of being

     apprehended by ICE when appearing in court and she was initially reluctant to pursue these

     remedies for many months. Only after SFF expended additional resources counseling the client

     and engaging in safety planning to prepare for the possibility of the client being arrested by ICE

     did the client ultimately seek, and was awarded, temporary custody of her son after nearly 4

     years of separation. This fear of being arrested by ICE when appearing in court intensified and

     compounded the severe trauma this client had already suffered.
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            105.    SFF advises clients who are the victims of violence in numerous locations around

     New York City, including in the City-run Family Justice Centers, and has had to spend time and

     resources counseling and even accompanying clients to court, including in matters where clients
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     appear prose. Simply getting clients to leave the Family Justice Center to walk a block or two to

     the courthouse nearby can be a terrifying experience for a client fearing ICE enforcement. Often

     the client asks the SFF advocate to accompany them to court for fear of arrest. ICE's policy of



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arresting non-citizens in and around courthouses has therefore impeded SFF's clients'

willingness to appear before a judge and has required SFF to provide additional support to their

clients so they can vindicate their rights in court.

        106.   Because of the heightened fear and suspicion created by ICE's courthouse arrests,

attorneys at PlaintiffUJC have been required to become involved in a much wider range of

cases, diverting time and resources away from their core mandates. UJC's immigration attorneys

are now frequently brought in to consult with UJC clients involved in family court and housing

court matters regarding the potential immigration consequences of being arrested when

appearing in court. In addition, since early 2017, UJC's family law attorneys have regularly

conducted family preparedness workshops and consultations for clients represented by UJC

attorneys in other practice areas, as these clients are afraid of being arrested by ICE when

appearing in court. In response to ICE's courthouse arrests and the widespread fear it has

generated among UJC's noncitizen clients, UJC attorneys have prepared advocacy letters for

clients, attended court proceedings with clients and spent significant additional time advising

clients and their family members about the risks of appearing in New York State courts, all of

which they would not have done absent the risks posed by ICE's courthouse arrests.

        107.    ICE's courthouse arrests have required Plaintiff The Door to devote more

resources on matters involving clients in family court than previously was necessary. In SIJS

guardianship cases, for example, The Door's attorneys now spend time counseling potential

guardians about the risk presented by ICE's courthouse arrest policy, and in some instances have

even been required to change their case strategy, necessitating more attorney resources. For

example, in an effort to spare prospective guardians who are fearful oflCE's courthouse arrest




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     policy from the need to go to court for fingerprinting, as often required in a SUS application, The

     Door now routinely writes lengthy motions to waive the New York state requirement.

             108.   In addition, obvious candidates for guardianship of The Door's clients, such as the

     clients' parents, are so afraid of the risk of deportation posed by ICE's courthouse arrests that

     they have refused to act as guardians, which is not only highly disruptive to families but also

     requires The Door to spend significant amounts of time finding new guardians. For example,

     The Door represented two children seeking SUS status whose mother refused to act as a

     guardian, requiring the children to move twice before a suitable guardian could be found.

     Addressing these issues can substantially prolong the time it takes to resolve a case and therefore

     slows the entire guardianship process. Because The Door receives its funding in part based on

     how many cases the organization resolves in a given year, these time delays threaten The Door's

     funding.

             109.   Plaintiff NYIC rely on NYIC to provide advocacy for their communities and

     needs, which has been made more difficult by ICE's courthouse arrest policy. NYIC's mission

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     is to bolster immigrant community members' capacity to deal with a wide range of issues that

     arise for immigrants in everyday life. However, NYIC has had to increasingly direct its time and

     resources towards addressing the frequent crises that arise as a result ofICE's presence in and

     around New York state courthouses. Time that could be spent providing counseling and

     advocacy for other issues must instead be spent fighting against ICE's courthouse arrest policy,

     including organizing rallies, discussion forums, bar association events and other methods to raise

     awareness. ICE courthouse arrests thus limit NYIC's ability to provide legal services in other

     areas. Instead of being able to move its agenda forward, NYIC is forced to act on the defensive,

     straining its resources and causing additional burdens on its staff.



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          110.   NYIC has also devoted dozens of hours to pass legislation that would prevent ICE

from making arrests in courthouses. In addition, when a particularly aggressive ICE arrest or

incident has occurred, NYIC has had to spend considerable resources participating in press

conferences, fielding press calls and reaching out to elected officials in order to publicize the

event and raise awareness of the effect ofICE's courthouse arrest policy. NYIC has diverted

resources away from its other work as a service coordinator in order to rapidly respond to these

issues.

          111.   Organizational Plaintiffs have also suffered consequences as a result of ICE's

courthouse arrests when representing noncitizen clients in connection with other civil matters.

Housing lawyers at Organizational Plaintiffs have been required to spend additional time

counseling endangered tenants who are considering initiating cases or responding to cases

brought against them by landlords. Organizational PlaintiffUJC, for example, has begun

attending tenant association meetings around New York City to address concerns among

noncitizens about ICE's courthouse arrests, which is not something it did prior to the onset of

ICE's courthouse arrest policy in 2017.

          112.   Limits on and Impediments to Certain Types o(Relief. The work of

Organizational Plaintiffs in representing survivors of domestic violence and human trafficking

has been severely impacted and impaired by ICE's courthouse arrest policy. In the current

climate, advocates are unable to assure clients that they can safely seek protection from the

courts without risking arrest by ICE, exacerbating their clients' trauma and anxiety. Some

Organizational Plaintiffs have observed that due to the presence ofICE in New York State

courthouses, their clients have less trust in New York's courts and law enforcement institutions,




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     a trend that undermines hard-won advances for the rights of victims and survivors over the last

     several years, which Organizational Plaintiffs have been instrumental in achieving.

            113.    Moreover, abusers are increasingly emboldened to threaten their victims and

     survivors with arrest by ICE if they appear in court, and, whereas Organizational Plaintiffs used

     to be able to dismiss these threats as highly unlikely to result in ICE arrest, they can no longer do

     so. The obstacles that Organizational Plaintiffs now face in being unable to reassure their clients

     that they should be safe from ICE if they seek protection from New York State courts undermine

     their core missions of ensuring that their vulnerable clients can safely seek access to

     justice. These clients, in turn, often suffer from heightened physical, emotional and financial
-,   abuse, as they believe their abuser's threats are legitimized and that they will be deported if they

     seek protection through the legal system.

             114.   As a result of ICE courthouse arrests, SFF attorneys have had to balance their

     clients' often urgent needs for legal protection from abuse against the risk ofICE arrest that may

     befall them when pursuing those remedies. SFF has observed a noticeable chilling effect on the

     willingness ofnoncitizen survivors to access the New York State justice system as a result of

     ICE's courthouse arrests. Since early 2017, SFF clients have been significantly more reluctant to

     take any course of action that would require participating in court proceedings.

            115.    For example, many of Plaintiff SFF's clients who are survivors of domestic

     violence are potential witnesses in criminal cases against their abusers. But since early 2017,

     SFF has observed that these clients have increasingly refused to appear in court and make police

     reports due to ICE's courthouse arrests. These clients are also fearful of meeting with state

     prosecutors in New York City because their offices are close to courthouses, where they fear ICE

     is lurking. SFF attorneys are frequently asked by clients to accompany them to court



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appearances and meetings with law enforcement, which SFF attorneys cannot always do given

the many competing strains on their time and resources.

       116.    Many ofUJC's noncitizen clients are eligible for forms of immigration and

humanitarian relief, including VAWA self-petitions, U visas, T visas and asylum. However, this

relief hinges upon the client's participation in court processes, which may be stymied by a

client's fear of an ICE courthouse arrest. One UJC client eligible for VAWA relief decided not

to seek help due to her fears of encountering ICE. She became so overwhelmed by her fears of

sudden deportation that she fled New York without contacting UJC. When an ICE officer, who

had been sitting in the back of the courtroom, followed and arrested another UJC client outside

the courthouse it sent a wave of panic through the court and the community. Such episodes

confirm the worst fears and paranoias ofUJC clients and those clients' communities, making it

more difficult for UJC to provide its clients with the services they need to obtain relief through

the justice system. UJC clients need assistance with civil legal matters, such as filing for custody

of children, obtaining orders of protection or filing for divorce, but now they are much more

reluctant to pursue relief that requires appearances in New York State courts. They are much

less willing to act as complaining witnesses in ongoing criminal cases against their abusers. ICE

courthouse arrests scare UJC clients and their family members out of filing for guardianship

proceedings, which destabilizes families and forestalls viable immigration remedies.

        117.   UJC's representation of clients who are survivors of human trafficking has been

harmed and complicated in a number of ways by ICE's courthouse arrests. UJC frequently

represents such clients in seeking vacatur of prostitution-related convictions under New York

law, a critical step for these individuals to rebuild their lives. However, as a result of the

widespread fear ofICE's courthouse arrests, UJC has observed that its clients are generally much



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     less willing to seek this relief, which requires appearing in criminal court. UJC must expend

     additional resources in order to address clients' fears of encountering ICE for those eligible for

     vacatur relief. For example, UJC attorneys must now frequently accompany clients to District

     Attorney meetings that do not require the presence of an attorney. Survivors eligible for T visas,

     many of whom have open warrants and criminal cases stemming from their trafficking, are often

     too fearful ofreturning to court to resolve those matters because of the prospect oflCE being at

     the courthouse. This creates a barrier to relief as USCIS will not adjudicate immigration

     applications without a final disposition of these criminal matters. The profound fear oflCE in

     the courts often continues even after clients are granted T visas. For example, UJC recently

     expended substantial additional time and resources counseling two different clients with T visas

     regarding their receipt of juror subpoenas, which required an appearance in New York County

     criminal court, of which these clients were terrified.

            118.    ICE's courthouse arrest policy has also interfered with the ability of The Door to

     pursue family court proceedings providing for the placement of vulnerable children with trusted

     guardians. ICE's courthouse arrest policy has deterred trusted, capable and otherwise willing

     adults to serve as guardians for The Door's clients, out of fears oflCE arrest while appearing in

     family court to complete the guardianship application process. ICE's courthouse arrest policy
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     has had real and severe impacts on the well-being of The Door's clients and has also had ripple

     effects for their clients' immigration status. Without guardians, The Door cannot assist its clients

     to pursue citizenship through SIJS. When delays identifying a guardian put clients at risk of

     aging out of SIJS (which is available until the age of 21 ), The Door has been forced to initiate

     applications for other forms of relief, such as asylum, which require additional resources,

     compound delays and expose The Door's clients to additional risks and hardship.



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        119.   Attorneys at each of Organizational Plaintiffs have faced and continue to face

difficulties where clients arrested by ICE have open family court cases. Organizational Plaintiffs

are unable to offer their clients or witnesses on behalf of their clients in family court

proceedings, jeopardizing their chances of success in family court.

        120.   In addition, Organizational Plaintiffs face obstacles in zealously pursuing

affirmative family court cases because they cannot assure clients that they can safely participate

in these proceedings without being at risk of arrest by ICE. Attorneys at each of the

Organizational Plaintiffs represent clients in family court in connection with SIJS proceedings.

These cases require all members of the SIJS applicant's household to be fingerprinted and for the

applicant's proposed guardian to appear in family court. Organizational Plaintiffs now face

obstacles in meeting these requirements where their SIJS clients' household members and

proposed guardians are noncitizens and afraid ofICE's presence in courthouses. Organizational

Plaintiffs' SIJS-eligible clients themselves are also less willing to file for SIJS out of fear that

they or their loved ones will be arrested by ICE when appearing in family court.

        121.   Before initiating SIJS cases, Organizational Plaintiffs must now allocate more

attorney time and resources to assessing its clients' household members who may be at higher

risk for removal. Where household members are at risk, attorneys from the Organizational

Plaintiffs must work with other attorneys and organizations to secure independent counsel for

these individuals. Before ICE's courthouse arrest policy was instituted, household members

generally would appear pro se; many are now too fearful to appear in court without an attorney.

Because the participation of these individuals is necessary for their clients to obtain SIJS, the fear

of ICE's courthouse arrests among their clients and families has often resulted in considerable

case delays, taxing the time and resources of their attorneys.



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       122.    Ultimately, the crippling fear ofICE courthouse arrests among noncitizens

residents of New York has required Organizational Plaintiffs to consider and pursue alternative

forms of relief and remedies for their clients outside of court processes, which often results in

clients foregoing the most robust protections and relief for which they would be eligible.

       123.    Additional Resources Spent on Developing New Trainings and Protocols. Due to

widespread fear and concern among their clients and members about ICE's presence and

enforcement actions in New York State courts, Organizational Plaintiffs have expended

significant resources on developing new internal and external practices and materials regarding

preparation for and responses to ICE's courthouse arrests.

       124.    In 2017, in response to ICE's increasingly aggressive enforcement tactics in

courthouses and elsewhere, PlaintiffMRNY began to create a set of rapid response resources and

protocols to work with and support its clients and members impacted by ICE arrests. Through

these initiatives, when a MRNY community member impacted by an ICE courthouse arrest

contacts MRNY, MRNY works with impacted family members to provide orientation and
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information about detention and deportation proceedings. MRNY also advises families about

potential eligibility for assigned counsel programs and/or assists in making legal referrals to

alternative counsel. Often MRNY provides additional emergency legal support. Since late 2017,

MRNY has provided this type of assistance in dozens of cases involving courthouse arrests.

       125.    In connection with these initiatives, MRNY has also dedicated additional

resources to creating new trainings and guidance to educate and prepare its staff to manage the

consequences ofICE arrests, including courthouse arrests. Because of widespread fear of

courthouse arrests, MRNY organizers and attorneys also devote time to counseling impacted

community members and their families who fear detention should they attend court and



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educating MRNY clients and members and other members of the public about ICE arrests and

detentions in Know Your Rights presentations. MRNY has also dedicated resources to

broader-based advocacy against courthouse arrests, including participating in coalitions,

speaking at press conferences and preparing and working with impacted members of the public

to testify about their fears and experiences. The resources MRNY has devoted to these

initiatives are diverted from its other organizational activities.

        126.    Plaintiff SFF has likewise diverted and continues to divert valuable resources

from its normal-course activities to dedicate additional time to discussing with its attorneys the

challenges caused by ICE courthouse arrests, specifically how to advise SFF's clients about their

rights and remedies now that ICE is routinely present in and around New York State courts. SFF

staff have also been involved in conducting external trainings for pro bona counsel and

community groups regarding ICE's courthouse arrest policy.

        127.    PlaintiffUJC has likewise dedicated and continues to dedicate considerable

attorney time to providing "Know Your Rights" trainings to community groups and individual

counseling regarding the risks of ICE's courthouse arrests. Given the diverse profiles and needs

ofUJC's clients, and the fact that UJC clients are often involved in multiple legal proceedings at

the same time, the impact ofICE's courthouse arrests has been felt across all ofUJC's 13

projects. As a practical matter, ICE policies hampered UJC's ability to provide its services at its

own offices, some of which are located in Family Justice Centers and in the same buildings as

District Attorneys' offices, and have required UJC to relocate its trainings and consultations.

Furthermore, the legal teams in each ofUJC's projects have been required to coordinate and

consult with one another in other ways that were previously unnecessary, since ICE's courthouse




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arrests threaten clients' ability to safely participate in all manner of New York State court legal

proceedings.

       128.    Plaintiff The Door has had to develop new internal trainings that show its

attorneys how to counsel guardians about the new risks that ICE's arrest policy creates. These

trainings focus on the guardians' immigration status and were generally unnecessary prior to

ICE's policy of conducting arrests in and around courthouses.

        129.   NYIC conducts a 40-hour training program in order to help members become·

accredited members of the Board oflmmigration Appeals. NYIC has now had to divert two to

three hours of this training on ICE courthouse arrests, specifically how to counsel clients who are

afraid of ICE arrest in and around courthouses and what steps to take if service providers

encounter ICE while in or around a courthouse.

        130.   In addition to these challenges and the institutional diversion of resources caused

by I CE' s courthouse arrests, one of Organizational Plaintiffs' core missions - to provide zealous

legal representation to their clients, regardless of their immigration status - is fundamentally

frustrated by this policy. ICE courthouse arrests have led to a breakdown in communication and

trust between attorneys and court staff, including judges. This communication breakdown has

severely interfered with clients' representation and exercise ofrights and hampered

Organizational Plaintiffs' operations and their ability to help ensure their vulnerable and

marginalized clients can safely seek access to justice.

       C.      ICE Commandeers State Resources to Carry Out Courthouse Arrests.

        131.   ICE relies on and coopts the resources of New York State by using state court

facilities as a locus of its federal immigration enforcement and arrest operations. New York

expends resources to create a courtroom environment that adjudicates important rights in a safe



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and secure setting. ICE then exploits the vulnerability of individuals in this environment. ICE

explicitly notes on its website that it conducts enforcement efforts inside state courthouses in

order to take advantage of the safety measures undertaken by state law enforcement officers:

"Individuals entering courthouses are typically screened by law enforcement personnel to search

for weapons and other contraband."22 New York State is providing security personnel at

courthouses to ensure that employees and visitors to the courts feel safe. ICE improperly

leverages these security services to more easily effectuate arrests, without regard to how their

actions undermine broader public safety goals. Moreover, ICE agents exploit the vulnerability of

individuals in state courthouses by using non-public areas of New York courthouses to make

arrests, as has been documented in Unusual Occurrence Reports prepared by Office of Court

Administration personnel23 and witnessed by defendants and bystanders. Indeed, the Courthouse

Arrests Directive specifically directs ICE agents to make arrests in non-public areas of

courthouses and to use other non-public facilities of the courts, such as private elevators.

         132.    In addition to their use of the physical facilities of state courthouses, ICE

commandeers New York court officers to facilitate their enforcement activities. ICE's

courthouse arrests have required New York courts to implement protocols and train staff to

accommodate and address this practice. Moreover, because courthouse arrests are frequently

carried out in a disruptive manner in which ICE agents exert physical force, court staff are

required to monitor the disruption, cordon off space and restrain bystanders, ICE' s arrest targets,

and attorneys. ICE also routinely asks court officers and clerks for information about arrest


22 U.S. Immigration and Customs Enft, FAQ on Sensitive Locations and Courthouse Arrests,
https://www.ice.gov/ero/enforcement/sensitive-loc (last updated Sept. 25, 2018).
23 Pursuant to the April 2019 OCA directive, "UCS court security personnel shall file an Unusual Occurrence Report

for each law enforcement action taken in a New York State courthouse by a law enforcement agency covered by this
protocol. For purposes of this protocol, 'law enforcement action' shall include observation of court proceedings by
law enforcement agents acting in their official capacity." New York OCA, Directive No. 1-2019, para. 2, April 17,
2019.

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     targets from state court files. There have been reported instances of ICE asking New York court

     officers to change the timing of an arrest target's court appearance in order to facilitate an arrest.

     ICE has also relied on the time and resources of court interpreters to assist its agents in

     communicating with its arrest targets and other individuals whom ICE arrests collaterally.

             133.    ICE's courthouse arrests also tax the resources ofNew York's state court judges

     who are required to manage the consequences of courthouse arrests as part of their adjudications

     of cases involving arrested noncitizens. This includes making decisions about whether to notify

     defense attorneys if their clients have been or will be arrested, dealing with the impact of

     noncitizen defendants being arrested by ICE on speedy trial time, adjudicating petitions for writs

     of production once an individual has been arrested mid-case and entertaining unconventional bail

     applications.

     V.      ICE's Courthouse Arrests Erode Trust In New York's Judiciary and Among
             Stakeholders.

             134.    The impact oflCE's courthouse arrests on the aforementioned stakeholders has

     led to a fundamental breakdown of trust in New York's courts, which were heretofore

     recognized as places where people could safely seek justice. Trust has eroded between the

     community and the justice system as a whole, as well as between court staff, judges and the

     defense bar. ICE's practice of running roughshod over New York's courts interferes with the
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     mission of these institutions and the daily functions of court-appointed counsel, who are integral

     to that mission and a significant fixture in the court system. It has also precipitated a loss of faith

     in and legitimacy of the courts of New York in the eyes of the public at large.

             135.    The administration of justice in New York's courts is impeded in myriad ways as

     a result ofICE's courthouse arrests, including waste of finite court resources, as well as the

     resources of district attorneys' offices and the defense bar.


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       136.     The functioning of the court system is also hampered by the reluctance of

noncitizen victims of crime and other forms of violence and exploitation to participate in the

justice system due to their fear of being arrested by ICE if they come forward and appear in

court. In addition, ICE's courthouse arrests have necessitated a significant expenditure of

resources by the nonprofit advocacy community, including advisory councils and other bodies

that are convened to support the functioning of state courts.

                                      CAUSES OF ACTION

                                     Count One
          Violation of the Fifth Amendment to the U.S. Constitution - Due Process

        13 7.   Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        138.    U.S. citizens and noncitizens are guaranteed the right to due process under the

Fifth Amendment to the U.S. Constitution, which includes the rights to access state courts and to

participate in state court proceedings as a witness, party or complainant.

        139.    Defendants' unlawful surveillance and arrests of noncitizens in and around New

York state courts violate the constitutionally-protected liberty interests of Plaintiff Doe and the

clients and members of Organizational Plaintiffs to adequately, effectively, and meaningfully

access the courts of the state ofNew York.

        140.    As a proximate result of Defendants' conduct, Plaintiff Doe and the clients and

members of Organizational Plaintiffs have suffered prejudice, actual and substantial hardship and

irreparable injury.

        141.    Plaintiffs have no adequate remedy at law.




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                                             Count Two
                        Violation of the First Amendment to the U.S. Constitution

              142.   Plaintiffs repeat and incorporate by reference each and every allegation contained

      in the preceding paragraphs as if fully set forth herein.

              143.   U.S. citizens and noncitizens are guaranteed the right of petition under the First

      Amendment to the U.S. Constitution, which includes the right to petition the Government for a

      redress of grievances. This right to petition includes right to access state courts and to participate

      in state court proceedings as a witness, party or complainant.

              144.   Defendants' unlawful surveillance and arrests of noncitizens in and around New

      York state courts violate the rights of Plaintiff Doe and the clients and members of
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      Organizational Plaintiffs to engage in constitutionally-protected conduct under the First

      Amendment, including accessing the courts of the state ofNew York and petitioning such courts

      for redress of their grievances.

              145.    Defendants' conduct also unlawfully interferes with the constitutional rights of

      Organizational Plaintiffs to effectively and fully carry out their duties as officers of the court, by

      impeding the ability of Organizational Plaintiffs to provide legal services to and representation of

      their clients before the courts ofNew York to the fullest extent of their organizational missions,

      and professional and ethical obligations, in violation of the First Amendment.

              146.   As a proximate result of Defendants' conduct, all Plaintiffs and the clients and

      members of Organizational Plaintiffs have suffered prejudice, actual and substantial hardship and

      irreparable injury.

              147.   Plaintiffs have no adequate remedy at law.




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                                       Count Three
                   Violation of the Sixth Amendment to the U.S. Constitution

        148.     Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        149.     Under the Sixth Amendment to the U.S. Constitution, U.S. citizen and noncitizen

defendants in criminal prosecutions are guaranteed the right to a speedy and public trial,

compulsory process, assistance of counsel and to be confronted with witnesses against them.

        150.     Defendants' unlawful surveillance and arrests of noncitizens in and around New

York state courts prevent criminal defendant clients and members of Organizational Plaintiffs

from fully and freely participating in state court proceedings in which they are defendants in

violation of their rights under the Sixth Amendment.

        151.     As a proximate result of Defendants' conduct, Organizational Plaintiffs have

suffered prejudice, actual and substantial hardship and irreparable injury.

        152.     Plaintiffs have no adequate remedy at law.

                                       Count Four
               Violation of the Common Law Immunity Against Civil Arrest While
                        Coming to, Attending, and Returning from Court

        153.     Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        154.     New York law recognizes a longstanding common-law privilege from civil arrest

for witnesses, parties and other individuals attending courts. This privilege is also recognized by

federal courts, including the Supreme Court, and federal and state courts enforce the privilege on

behalf of each other.

        155.     Defendants' unlawful surveillance and arrests of noncitizens in and around New

York state courts violate the New York common law privilege that protects witnesses and parties


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from civil arrest while they are voluntarily attending unrelated court proceedings and when

traveling to and from those proceedings.

        156.   As a proximate result of Defendants' conduct, Plaintiff Doe and the clients and

members of Organizational Plaintiffs have suffered prejudice, actual and substantial hardship and

irreparable injury.

        157.   Plaintiffs have no adequate remedy at law.

                                        Count Five
                         Violation of the Administrative Procedure Act

        158.   Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        159.    The Administrative Procedure Act ("APA") prohibits federal action that is "in

excess of statutory jurisdiction, authority or limitations, or short of statutory right," 5 U.S.C. §

706(2)(C), that is "arbitrary, capricious, an abuse of discretion or otherwise not in accordance

with law," id § 706(2)(A), and that is taken "without observance of procedure required by law,"

id § 706(2)(D).

        160.    Defendants' policy of surveilling and arresting noncitizens in and around New

York State courthouses is a final agency action subject to review under the AP A. This policy

violates the longstanding common law privilege against civil arrest in and around courthouses

without a judicial warrant and is therefore "not in accordance with law." It also misinterprets

and/or violates the First, Fifth and Sixth Amendments, and therefore violates the APA as an

unconstitutional agency action.

        161.    Moreover, this policy is inconsistent with the federal statutory scheme as set forth

in 8 U.S.C. §§ l lOl(a), 1182(a)(2), 1186a(c) and 1227(a)(2), and with the implementation of the

benefits and protections conferred by these provisions. These provisions necessarily limit ICE' s


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enforcement activities in state courts, in particular making clear that such activities generally

should not occur at sensitive locations and should not interfere with the rights of vulnerable

individuals to seek relief from the courts.

       162.    ICE's courthouse arrest policy is arbitrary and capricious for multiple additional

reasons, including that:

       •       Defendants have not provided adequate reasoning and legal support for this shift
               in policy;

       •       Defendants' stated purpose for this policy is to retaliate against jurisdictions that
               are unwilling to cooperate with ICE's requests to detain noncitizens and transfer
               them to ICE custody and to take advantage of security systems put in place by
               state courts; and

       •       Defendants failed to adequately consider the impact and consequences of this
               policy on the ability of noncitizens and their family members to safely access
               state courts, in contravention of Defendants' policies, historical practices and
               legal obligations.

        163.   As a proximate result of Defendants' conduct, Plaintiff Doe and the noncitizen

clients and members of Organizational Plaintiffs have suffered prejudice, actual and substantial

hardship and irreparable injury.

        164.   Plaintiffs have no adequate remedy at law.

                                     PRAYER FOR RELIEF

WHEREFORE Plaintiffs pray that this Court grant the following relief:

(1)    Declare that Defendants' policy and practice of surveilling and making civil immigration

arrests of people without a judicial warrant while coming to, attending or returning from court is

illegal and unconstitutional;

(2)    Issue a permanent injunction ordering Defendants not to make a civil immigration arrest

without a judicial warrant or surveil any individual coming to, attending or returning from court;




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(3)    Set aside ICE's unlawful policy of surveilling and making civil immigration arrests of

individuals without a judicial warrant at courthouses;

(4)    Award Plaintiffs' reasonable costs and attorney's fees; and

(5)    Grant any other and further relief that this Court may deem fit and proper.




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    Dated: September 25, 2019
           New York, New York

                                 Respectfully submitted,

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